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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                           CRIMINAL NO. 1:02cr94WJG-2

CHRISTOPHER DURWOOD THOMPSON


                           AGREED ORDER REDUCING SENTENCE

        THIS CAUSE is before the Court on the pro se motion for sentence reduction filed by

Defendant Christopher Durwood Thompson, [122], and the motions to reduce Defendant’s

sentence filed on his behalf by the Federal Public Defenders Office [FPD] [124 & 125]. The

Court considers this case pursuant to its authority under 18 U.S.C. § 3582(c)(2) and Federal Rule

of Criminal Procedure 43(b)(4). The United States Sentencing Commission has reduced

guideline offense levels for cocaine base cases, and has made the reductions retroactive to

previously-sentenced defendants. The parties agree, and the Court concurs, that a sentencing

reduction is appropriate in this case. It is, therefore,

        ORDERED AND ADJUDGED, that the pro se motion of Defendant [122] and FPD’s

motion [124] filed on Defendant’s behalf be, and they are hereby, denied as moot, as the later
filed motion (Ct. R., Doc. 125) correctly sets forth the appropriate reduction taking into

consideration a previously granted Rule 35 motion for sentence reduction and the order granting
that motion. (Ct. R., Docs. 114 & 116.) It is further,

        ORDERED AND ADJUDGED that FPD’s motion [125] filed on behalf of Defendant be,
and is hereby, granted. It is further,

        ORDERED AND ADJUDGED that Defendant Christopher Durwood Thompson’s
sentence be, and is hereby, reduced from 108 months to 87 months. It is further,




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       ORDERED AND ADJUDGED that all other terms and provisions of the original

judgment, (Ct. R., Doc. 90), remain in full force and effect. It is finally,

       ORDERED AND ADJUDGED that the Clerk of Court immediately transmit a copy of

this agreed order to the Bureau of Prisons.

       SO ORDERED AND ADJUDGED this the 1st day of April, 2008.




                                                UNITED STATES SENIOR DISTRICT JUDGE

AGREED:


 /s/ John A. Meynardie                                    /s/ George L. Lucas
ASSISTANT U.S. ATTORNEY                                 DEFENSE COUNSEL




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